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UNITED STATES OF AMERICA                             :
                                                     :
                                                     :              CRIMINAL ACTION
       v.                                            :              NO. 21-132
                                                     :
                                                     :
MURTY VEPURI                                         :
ASHVIN PANCHAL                                       :
KVK-TECH, INC.                                       :


       REPORT AND RECOMMENDATION OF THE SPECIAL MASTER AS TO
        DEFENDANTS' MOTION FOR PROTECTIVE ORDER REGARDING 61
                DOCUMENTS ON PRIVILEGE LOG VOLUME 2


GREGORY P. MILLER, Special Master.

       Currently before the Special Master is the Defendants' Motion for Protective Order

Regarding 61 Documents on Privilege Log Volume 2 ("Defendants' Motion") filed by defendants

KVK Tech, Inc. ("Company" or "KVK"), Murty Vepuri ("Mr. Vepuri") and Ashvin Panchal

("Mr. Panchal"). The Special Master recommends the Court deny the Defendants' Motion.


       I.      Background

       On November 3, 2021, the Court entered an order establishing a protocol to govern "the

filter review and disclosure of materials seized from the premises of KVK pursuant to three

search warrants issued on July 27 and 29, 2021 in Case Nos. 21-mj-1220-1, 2, 3." ("Filter Team

Protocol Order"). The Filter Team Protocol Order provides that, "If the parties cannot come to an

agreement as to an asserted privilege claim, the defendants will file a motion within 10 business

days with the Special Master, to be appointed by the court, for a protective order preventing the

release of the disputed document(s) to the Prosecution Team." Filter Team Protocol Order at 4,

EFC No. 87. The Order further provides "The Briefing schedule, including any oral argument,



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will be set by the Special Master in consultation with the parties." Id. On December 1, 2022, the

Special Master was appointed "to decide, in the first instance, disputes between the parties

concerning issues of attorney-client privilege, attorney work product, or any other recognized

privilege." Special Master Order, EFC No. 92.

       Beginning on February 18, 2022, the Defendants began submitting letters informing the

Special Master of disagreements between the parties on the privileged status of certain

documents identified on the Defendants' Privilege Logs and the adequacy of the disclosures

contained in those privilege logs. On April 11, 2022, the Special Master issued Case

Management and Scheduling Order No.1 that encouraged the parties to continue negotiations

regarding the privilege log disclosure issues and established a schedule for the submission by

Defendants of a Motion for Protective Orders related to Privilege Log Volumes 2 & 5. After

additional negotiations related to Privilege Log Volumes 2 & 5, the dispute now is limited to 61

documents identified in Privilege Log 2.

       On April 19, 2022, the Defendants submitted Defendants' Motion for Protective Order

Regarding 61 Documents on Privilege Log Volume 2 ("Defendants' Motion"). In this Motion,

the Defendants assert all 61 documents ("Disputed Documents") are protected by the attorney-

client privilege and the work product doctrine. The Special Master requested the Defendants

submit the Disputed Documents for an in-camera review. See United States v. Zolin, 491 U.S.

554, 569 (1989) (Approving the practice of requiring parties who seek to avoid disclosure of

documents to make the documents available for in camera inspection). The Defendants also

submitted documents, KVKSW3-00028832, for in camera inspection. The Special Master did

not consider these documents since they were not at issue in the Defendants' Motion.




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       In support of their Motion, the Defendants submitted a letter from Mr. Panchal's attorney,

Patrick J. Egan, Esquire, that states, in part, the Disputed Documents "were assembled by Mr.

Panchal at the direction of KVK's outside counsel during the criminal investigation that led to

charges against him and his two co-Defendants in Criminal Action No. 21-132. Defendants' Mot.

at 1 Ex. A. (February 28, 2022, letter from P. Egan.). The letter also states "the documents were

stored in hard copy in a box that was seized from Mr. Panchal's office during the execution of the

July 27, 2021, search warrants." Id. The Defendants assert the facts outlined in Mr. Egan's letter

and relevant caselaw support their position the Disputed Documents are protected by attorney-

client privilege and the work product doctrine.

       On May 3, 2022, the Filter Team filed the Government Filter Team's Opposition to

Defendants' Motion for Protective Order Regarding 61 Documents on Privilege Log Vol. 2.

("Filter Team's Opposition"). The Filter Team argues the Defendants' Motion should be denied

because it seeks to "claim attorney-client privilege and work product [protection] over

documents that have no protection on their own, solely because [KVK's] employee allegedly

collected them in response to a request from an attorney." Filter Team Opp'n at 1. The Filter

Team asserts the facts and case law submitted by the Defendants fail to establish the Disputed

Documents are protected by either the attorney-client privilege or the work product doctrine.

       The Filter Team further argues that even if the Disputed Documents are determined to be

protected by the work product doctrine, the disclosure of these documents would still be

appropriate because the Prosecution Team "has substantial need for [these] materials to prepare

its case and cannot, without undue hardship, obtain their substantial equivalent by other means."

(citing Fed. R. Civ. P. 26(b)(3)(A)(ii)) Id. at 12. In support of this position, the Filter Team states

that neither the Filter Team nor the Defendants have been able to find other copies of the




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Disputed Documents in the materials seized from KVK's facility. See Filter Team Opp'n at 12-

13.

        II.     Legal Standards

                A. Attorney-Client Privilege

        The attorney-client privilege protects from disclosure of confidential communications

made between attorneys and clients to obtain or provide legal assistance to the client. In re

Teleglobe Commc'ns Corp., 493 F.3d 345, 359 (3d Cir. 2007). Although such communications

may be both relevant and highly probative of the truth, they are shielded from production in order

"to encourage full and frank communication between attorneys and their clients and thereby

promote broader public interests in the observation of law and administration of justice." Upjohn

Co. v. United States, 449 U.S. 383, 389 (1981).

        Nevertheless, because “ the attorney-client privilege obstructs the truth-finding

process, it is construed narrowly'" and "is 'strictly confined within the narrowest possible

limits consistent with the logic of its principle.'" Fed. Trade Comm'n v. AbbVie, Inc., No. CV

14-5151, 2015 WL 8623076, at *2 (E.D. Pa. Dec. 14, 2015) (Bartle, J.; unpublished) (quoting

Westinghouse Elec. Corp. v. Republic of Philippines, 951 F.2d 1414, 1423 (3d Cir. 1991);

SmithKline Beecham Corp. v. Apotex Corp., 232 F.R.D. 467, 472 (E.D. Pa. 2005); and In re

Grand Jury Investigation, 599 F.2d 1224, 1235 (3d Cir. 1979)). "The elements necessary to

establish the attorney-client privilege are settled.

        (1) (When) legal advice of any kind is sought (2) from a professional legal adviser in his
            capacity as such, (3) the communications relating to that purpose, (4) made in
            confidence (5) by the client, (6) are at his insistence permanently protected (7) from
            disclosure by himself or by the legal advisor, (8) except the protection be waived.
            (Emphasis added)" (citing J. Wigmore, Evidence s 2292 at 554 (1961)."




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In the Matter of Grand Jury Empanelled February 14, 1978, 603 F.2d 469 (3d Cir. 1979). "The

party asserting the attorney-client privilege 'bears the burden of proving that it applies to the

communication at issue.'" AbbVie, 2016 WL 4478803, at *2 (E.D. Pa. Aug. 25, 2016) (quoting

SEPTA v. CaremarkPCS Health, L.P., 254 F.R.D. 253, 259 (E.D. Pa. Dec. 9, 2008) and Sampson

v. Sch. Dist., 262 F.R.D. 469, 473 (E.D. Pa. Nov. 5, 2008) and citing In re Matter of Grand

Jury Empanelled Feb. 14, 1978, 603 F.2d 469, 474 (3d Cir. 1979)).

       The privilege "applies to communications by a corporate employee concerning matters

within the scope of duties purposefully made to enable an attorney to provide legal advice to the

corporation." Pennsylvania Transp. Auth. v. Caremarkpcs Health, L.P., 254 F.R.D. 253, 257

(E.D. Pa. 2008). The attorney-client privilege "may also extend to certain 'documents, [that] while

not involving employees assisting counsel, still reflect confidential communications between

client and counsel or subordinates of counsel for the purpose of either (1) providing legal services

or (2) providing information to counsel to secure legal services.'" Id.

               B. Work-Product Doctrine

       The work product doctrine protects documents "(1) created in reasonable anticipation of

litigation by or for a party and (2) prepared primarily for the purpose of litigation." AbbVie, 2015

WL 8623076, at *4 (citing Hickman v. Taylor, 329 U.S. 495, 508 (1947)). This doctrine applies

in criminal, as well as civil, litigation. See United States v. Nobles, 422 U.S. 225 236 (1975)).

       The relevant inquiry is whether "the document can fairly be said to have been prepared or

obtained because of the prospect of litigation," United States v. Rockwell Int’l, 897 F.2d 1255,

1266 (3d Cir. 1990) (citation omitted), and the party asserting the protection must make this

showing, SmithKline, 232 F.R.D. at 473 (citing Holmes v. Pension Plan of Bethlehem Steel Corp.,

213 F.3d 124, 138 (3d Cir. 2000)). The work product doctrine "advances the cause of justice and



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gives life to the Sixth Amendment right to effective assistance of counsel." Vepuri, 2021 WL

4860744, at *2 (citing United States v. Nobles, 422 U.S. 225, 237-38 (1975)).

       The work product doctrine is "distinct from and broader than the attorney-client privilege"

in that it immunizes from discovery documents "prepared in anticipation of litigation or for trial

by or for another party or by or for that other party's representative." SmithKline Beecham Corp.,

232 F.R.D. at 473. In undertaking an analysis of the applicability of this doctrine, a court must

determine with specificity the motivation in creating and maintaining the document at issue. See

United States v. Rockwell, 897 F.2d 1255, 1266 (3d Cir. 1990). The Court also must determine

"whether in light of the nature of the document and the factual situation in the particular case, the

document can fairly be said to have been prepared or obtained because of the prospect of

litigation." In re Grand Jury Proceedings (FMC Corp), 604 F. 2d 798, 803 (3d Cir. 1979).

(citation omitted).

       "The work product doctrine is governed by a uniform federal standard set forth in Fed. R.

Civ. P. 26(b)(3)." In re: Cendant Corporation Securities Litigation, 343 F3d 658, 661 (2003).

"Rule 26(b)(3) establishes two tiers of protection: first, work prepared in anticipation of litigation

by an attorney or his agent is discoverable only upon a showing of need and hardship; second,

"core" or "opinion" work product that encompasses the "mental impressions, conclusions,

opinion, or legal theories of an attorney or other representative of a party concerning the

litigation" is generally afforded near absolute protection from discovery." Id. at 663. (citation

omitted).

       The work product doctrine is not an absolute bar to the discovery of material prepared in

anticipation of litigation." Id. "Work product can be produced




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       upon a showing that the party seeking discovery has a substantial need of the materials in
       the preparation of the party's case and that party is unable without undue hardship to
       obtain the substantial equivalent of the materials by other means. In ordering discovery
       of such materials, when the required showing has been made, the Court shall protect
       against disclosure of the mental impressions, conclusions, opinions, or legal theories of
       an attorney or other representative of a party concerning the litigation.


       Fed.R.Civ.P.26(b)(3)." Id. Opinion work product "is accorded an almost absolute

protection from discovery because any slight factual content that such items may have is generally

outweighed by the adversary system's interest in maintaining the privacy of an attorney's thought

processes and in ensuring that each side relies on its own wit in preparing their respective cases."

Sporck v. Peil, 759 F.2d 312, 316 (3d. Cir. 1985). "Thus, core or opinion work product receives

greater protection than ordinary work product and is discoverable only upon a showing of rare

and exceptional circumstances." In re Cendant, 343 F. 3d at 663.

       III.    Discussion

         A. Defendants' Attorney-Client Privilege Claim


       The foundation for the Defendants' Motion primarily rests on the factual assertions

contained in Mr. Egan's letter. As an initial issue, it is not clear whether a letter from counsel

rather than an "affidavit or declaration" is a sufficient basis for this Motion. See Abbvie at 1-2.

But assuming it is, the letter fails to supply the facts necessary for the Defendants to meet their

burden of proving the attorney-client privilege applies to the Disputed Documents.

        Mr. Egan, in his letter, states, in part, the Disputed Documents "were seized from a

box of documents located in Mr. Panchal's office during the search. The materials are

labelled 'Box is from Ashvin Panchal During April/May 2019 for Hydroxyzine HCL." The

materials seized from this box are a compilation of documents that Mr. Panchal collected in

connection with the government investigation of him. The investigation, which resulted in



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the charged case, focused on, among other things, Hydroxyzine. Mr. Panchal collected those

documents at the request of company counsel in order to provide information relevant to the

investigation. Given that the investigation was ongoing in 2019, the documents were

collected specially in anticipation of litigation." Defendants' Motion at 1. Ex. A. (February 28,

2022, letter from P. Egan.).

        The Defendants argue that Mr. Egan's letter is sufficient to prove Mr. Panchal gathered

the Disputed Documents as a result of a request from the company counsel. Thus, the Defendants

submit "[t]he central inquiry" – whether there was a communication made between an attorney

and a client for the purpose of obtaining legal advice – is clearly satisfied here." (citation

omitted). Id. at 5. The Defendants further argue the remaining elements necessary to establish the

attorney-client privilege are met since "the communication relates to a fact of which the attorney

was informed without the presence of strangers for the purpose of obtaining legal advice, and

KVK has not waived the privilege (through Mr. Panchal or otherwise)." Id. The application of

the attorney-client privilege to the Disputed Documents, the Defendants submit, is necessary

"because disclosing the documents to the Prosecution Team would reveal the substance of

KVK's attorney's communication to his client through Mr. Panchal (i.e. the contours of the

attorney's request to gather particular documents), and the substance of KVK's implied

communication back to its outside counsel identifying the selected documents as responsive to

the attorney's request." Id. at 5-6.

        The Filter Team argues the Defendants' claim that company counsel requested the

disputed documents is based on "an unsupported statement of Mr. Egan that lacks specificity."

Filter Team Opp'n at 6. In this statement, the Filter Team notes "Mr. Egan does not claim to have

any involvement in making or responding to this purported request from the company's counsel




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or even to have ever seen any communication relating to it." Id. The Filter Team further argues,

KVK fails to identify this unnamed "company counsel" as any particular person or law firm,

despite, what it contends, is the clear legal requirement "that KVK must 'identify a specific

attorney with whom a confidential communication was made in order to satisfy [its] burden' that

the attorney-client privilege applies." Id. at 6-7. (citations omitted). The Filter Team also notes

that neither KVK or Mr. Egan "provide any information about what request that unnamed

attorney made of KVK or how that attorney conveyed the purported request, which information

would also be necessary to provide the specific identification a claim of privilege requires." Id. at

7.

       The Defendants' submission fails to provide sufficient information to substantiate their

assertion that the attorney-client privilege protects the Disputed Documents. See Fed. Trade

Comm'n v. AbbVie, Inc., No. CV 14-5151, 2015 WL 8623076, at *9 (E.D. Pa. Dec. 14, 2015)

(Bartle, J.; unpublished); see also FTC v. AbbVie, Inc., No.CV 14-5151, 2016 WL 4478803, at

*11 (E.D. Pa. Aug. 25, 2016) (unpublished) ("Abbvie once again has not provided sufficient

information for us to find that the privilege applies to these documents. [The attorney's]

declaration concludes that these communications contain requests for legal advice without

providing context to substantiate her contentions.”).

       The Defendant's failure to identify the "company counsel" is significant because it is

important for the party asserting the privilege to "identify a specific attorney with whom a

confidential communication was made in order to satisfy [its] burden" that the attorney-client

privilege applies. SEPTA v. CaremarkPCS Health, L.P., 254 F.R.D. 253, 259 (E.D. Pa. 2008)

(internal quotations omitted); see also SmithKline, 232 F.R.D. at 477. The Defendants failure

to provide any information on how this request was conveyed or any details on the purpose or




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scope of the request, also fails to provide substantiation for their argument that disclosing the

Disputed Documents to the Prosecution Team would reveal the substance of the "company

counsel's" communication with Mr. Panchal.

       Finally, the Defendants also failed to establish the requested documents, once

accumulated, were ever sent to the requesting company counsel. It appears from the facts

submitted, that the Disputed Documents simply sat, for an extended period, in Mr. Panchal's

office. See Martin v. Bally's Park Place Hotel & Casino, 983 F. 2d 1252, 1260 (3d Cir. 1993).

(In applying the doctrine, courts consider the nature of the document for which protection is

sought and the facts surrounding its creation and distribution).

         B. Defendants' Work Product Doctrine Claim

        The Defendants' basis for asserting the Disputed Documents are protected under work

product doctrine also primarily rests on the factual assertions contained in Mr. Egan's letter.

Based on those asserted facts, the Defendants argue the Disputed Documents are entitled to the

"highest level of protection as opinion work. Defendants' Mot. at 8. The Defendant's argument

that they meet this higher standard is based on the Third Circuit's decision in Sporck v. Peil, 759

F. 2d 312 (3d Cir. 1985). In Sporck, the Third Circuit held "[t]he 'selection and compilation of'

documents that may not on their own be privileged are nonetheless entitled to work product

protection where they are gathered in anticipation of litigation" Id. at 315. "Not only are such

documents subject to work product protection, they receive the highest level of protection as

opinion work product." Defendants' Mot. at 7-8. (citations omitted).

       In challenging the Defendants' assertion that the Disputed Documents are protected from

disclosure by the opinion work product doctrine, the Filter Team argues, Mr. Panchal's collection

of the Disputed Documents "does not show any selection process based mental impressions and




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legal strategies concerning the defense of the case, much less show that the documents

themselves would somehow reveal those impressions or strategies." Filter Team Opp'n at 11. The

Filter Team further contends the Defendants' reliance on Sporck is misplaced since that case

"dealt with a request for production of the specific set of documents that an attorney had selected

to use to prepare the client for deposition." Sporck, 759 F.2d at 315.

       In addition, the Filter Team seeks disclosure of the Disputed Documents, even if the

Defendants have established the Disputed Documents are protected by the work-product

doctrine, "because the Prosecution Team 'has substantial need for [these] materials to prepare its

case and cannot, with undue hardship, obtain their substantial equivalent by other means." Filter

Team Opp'n at 12. (citing Fed. R. Civ. P. 26(b)(3)(A)(ii)). In support of this request, the Filter

Team submits, "The Disputed Documents are factual records pertaining to KVK's manufacturing

of Hydroxyzine Hydrochloride, and they are important to the government's ongoing criminal

investigation of KVK." Id.

       The Defendants have failed to establish the Disputed Documents are protected opinion

work product. First, the Defendants reliance on Sporck is misplaced. As noted by the Filter

Team, Sporck involves the selection and compilation of the documents performed by an attorney

that reflect his mental impressions, conclusions, opinion, or legal theories. By contrast, the

Defendants have failed to provide any evidence on the identity of the company counsel or what

instructions, if any, were given to Mr. Panchal. In addition, the Defendants failed to provide any

evidence that the Disputed Documents were ever provided to the "company counsel" upon whose

request they were collected. See Martin v. Bally's Park Place Hotel & Casino, 983 F. 2d 1252,

1260 (3d Cir. 1993). Accordingly, their submission fails to provide sufficient information to

substantiate their argument the opinion work product doctrine protects the Disputed Documents.




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       Although the Defendants' submission fails to substantiate the applicability of the opinion

work product doctrine, it provides sufficient support for the Defendants' argument that the

Disputed Documents are protected by the "first tier" or ordinary work product doctrine.

According to Mr. Egan, "Mr. Panchal collected those documents at the request of company

counsel in order to provide information relevant to the investigation." Defendants' Motion at

1. Ex. A. (February 28, 2022, letter from P. Egan.). Therefore, it can be fairly said the Disputed

Documents were "prepared or obtained because of the prospect of litigation," United States v.

Rockwell Int’l, 897 F.2d 1255, 1266 (3d Cir. 1990) (citation omitted). See also In re Grand

Jury Proceedings (FMC Corp), 604 F. 2d 798, 803 (3d Cir. 1979).

        Based on the Special Master's review, it also is clear the Disputed Documents are more

than a purely random collection of documents. While the documents are similar in nature and

relevance, they appear to have been collected from various sources. Although the Defendants

failed to provide any basis for evaluating what criteria Mr. Panchal used to select the Disputed

Documents, it is clear they were collected because of the prospect of litigation.

         C. Filter Team's Substantial Need/Undue Hardship Claim

       Since the Defendants only have established the "first tier" or ordinary work product

doctrine protection for the Disputed Documents, the Filter team is not required to meet the

heightened showing of extraordinary circumstances. See Sporck v. Peil, 759 F.3d 312, 316

(#d Cir. 1985). The Disputed Documents are subject to disclosure where a "party shows that

it has substantial need for the materials to prepare its case and cannot, without undue hardship,

obtain their substantial equivalent by other means." Fed. R. Civ. P. 26(b)(3)(A)(ii). The Filter

Team asserted "The Disputed Documents are factual records pertaining to KVK's Manufacturing

of Hydroxyzine Hydrochloride, and they are important to the government's ongoing criminal




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investigation of KVK." Filter Team Opp'n at 12. The Filter team further submits, "In fact, the

search warrant the government was executing when it seized these records from KVK's facility

specifically identified '[m]anufacturing and distribution records relating to Hydroxyzine

Hydrochloride tablets,' and "[r]ecords related to the purchase and use of …API Hydroxyzine

Hydrochloride" as evidence that the Government was seeking. Id.

       The Filter Team's description of the Disputed Documents was confirmed during the

Special Master's review. The subject matter of the Disputed Documents appears related to the subject

matter of the documents identified in the search warrants the Government was executing when it

seized records from KVK's facility. The Special Master's review also confirmed that the

Disputed Documents did not reference a privileged communication or include any commentary,

legal analysis, or notes to or from any attorneys.

       The Filter Team has met its burden in establishing the Government's extraordinary need

for the Disputed Documents. In addition, the Government's inability to secure the information

contained in the Disputed Documents from another source establishes these records cannot be

recreated or obtained from other sources. See Fed.R.Civ.P.26(b)(3). See also In re Grand Jury

Investigation, 599 F. 2d 1224, 1232 (3d. Cir. 1979). Accordingly, the Prosecution Team should

be granted access to the Disputed Documents.

       IV.     Recommendations

               For the foregoing reasons, the Special Master recommends that the Court:

               (1) Deny the Defendants' Motion for Protective Order; and

               (2) Grant the Government's Prosecution Team access to the Disputed Documents.




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Date: June 7, 2022                         Gregory Miller, Esquire
                                               Gregory Miller, Esq.
                                           /s/________________________
                                           Special Master




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                                      PROOF OF SERVICE BY E-Service

                                        Re: U.S. vs. Vepuri, Murty, et al.
                                          Reference No. 1450008185

            I, Amanda Whyte, not a party to the within action, hereby declare that on June 9, 2022, I served the
attached Report and Recommendation of the Special Masters as to Defendants' Motion for Protective Order

Regarding 61 Documents on Privilege Log Volume 2 on the parties in the within action via E-Service at
Philadelphia, PENNSYLVANIA, addressed as follows:


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             Case
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              I declare under penalty of perjury the foregoing to be true and correct. Executed at Philadelphia,

PENNSYLVANIA on June 9, 2022.


       Amanda Whyte
/s/
Amanda Whyte JAMS
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                    EXHIBIT “B”
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 Defendants’ Motion for Protective Order Regarding 61 Documents on
                 Privilege Log Volume 2, with exhibits
(submitted to Special Master for confidential treatment, April 19, 2022)




This document has been submitted to Chambers for in camera review.
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                    EXHIBIT “C”
     Case 2:21-cr-00132-HB Document 174-1 Filed 07/01/22 Page 21 of 26




    Government Filter Team’s Opposition to Defendants’ Motion for
   Protective Order Regarding 61 Documents on Privilege Log Vol. 2,
                            with exhibits
 (submitted to Special Master for confidential treatment, May 3, 2022)




This document has been submitted to Chambers for in camera review.
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                    EXHIBIT “D”
     Case 2:21-cr-00132-HB Document 174-1 Filed 07/01/22 Page 23 of 26




                  Attachment “B” to Search Warrants,
                       reflecting date limitation




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re Search Warrants, No. 21-mj-1220, remains under seal.
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                    EXHIBIT “E”
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       Chart of 61 Documents on Priv. Log Vol. 2 (Panchal Compilation)


                    Document ID                   Date Range
         1.    KVKSW3-00029021          January 2013 – April 2013
         2.    KVKSW3-00029072          April 2013 – July 2013
         3.    KVKSW3-00029123          July 2013 – January 2014
         4.    KVKSW3-00029174          January 2014 – March 2014
         5.    KVKSW3-00029196          March 2014 – June 2014
         6.    KVKSW3-00029217          June 2005 – December 2010
         7.    KVKSW3-00029230          January 2014 – May 2014
         8.    KVKSW3-00029281          May 2014 – October 2014
         9.    KVKSW3-00029332          October 2014 – December 2014
         10.   KVKSW3-00029383          January 2011
         11.   KVKSW3-00029386          January 2011
         12.   KVKSW3-00029388          January 2011
         13.   KVKSW3-00029402          January 2011
         14.   KVKSW3-00029408          January 2011
         15.   KVKSW3-00029414          January 2011
         16.   KVKSW3-00029419          January 2012 – June 2012
         17.   KVKSW3-00029471          June 2012 – September 2012
         18.   KVKSW3-00029523          September 2012 – October 2012
         19.   KVKSW3-00029574          October 2012 – December 2012
         20.   KVKSW3-00029625          February 2018 – March 2018
         21.   KVKSW3-00029704          March 2018
         22.   KVKSW3-00029751          March 2018
         23.   KVKSW3-00029753          March 2018
         24.   KVKSW3-00029765          March 2018
         25.   KVKSW3-00029777          March 2018
         26.   KVKSW3-00029789          March 2018
         27.   KVKSW3-00029801          March 2018
         28.   KVKSW3-00029813          March 2018
         29.   KVKSW3-00029825          March 2018
         30.   KVKSW3-00029837          March 2018
         31.   KVKSW3-00029851          February 2018
         32.   KVKSW3-00029863          February 2018
         33.   KVKSW3-00029875          February 2018
         34.   KVKSW3-00029887          March 2018
         35.   KVKSW3-00029933          March 2018
         36.   KVKSW3-00029943          March 2018
         37.   KVKSW3-00029946          March 2018
         38.   KVKSW3-00029971          March 2018
         39.   KVKSW3-00029987          March 2018
         40.   KVKSW3-00029990          March 2018
         41.   KVKSW3-00029993          March 2018
         42.   KVKSW3-00029997          March 2018
         43.   KVKSW3-00029999          March 2018
         44.   KVKSW3-00030006          March 2018
         45.   KVKSW3-00030030          February 2018
         46.   KVKSW3-00030039          February 2018
         47.   KVKSW3-00030048          February 2018
         48.   KVKSW3-00030058          February 2018
         49.   KVKSW3-00030072          February 2018
         50.   KVKSW3-00030081          February 2018
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                   Document ID              Date Range
         51.   KVKSW3-00030090   February 2018
         52.   KVKSW3-00030099   February 2018
         53.   KVKSW3-00030108   February 2018
         54.   KVKSW3-00030121   January 2011
         55.   KVKSW3-00030140   January 2011 – February 2011
         56.   KVKSW3-00030154   January 2011
         57.   KVKSW3-00030172   December 2010 – January 2011
         58.   KVKSW3-00030185   January 2011
         59.   KVKSW3-00030199   January 2011
         60.   KVKSW3-00030222   January 2011
         61.   KVKSW3-00030243   Multiple documents (all pre-2018;
                                 dates include, e.g., 2011 and 2014)
